









Dismissed and Opinion filed April 24, 2003









&nbsp;

Dismissed and Opinion filed April 24, 2003.

&nbsp;

In The

&nbsp;

____________

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00659-CR

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&nbsp;

GENEVA GAYLE BAILEY, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 262nd District Court

Harris
County, Texas

Trial
Court Cause No. 850,720

&nbsp;

&nbsp;



M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp;
See Tex. R. App. P.
42.2.&nbsp; Because this Court has not
delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered and Opinion filed
April 24, 2003.

Panel consists of Justices Anderson,
Seymore and Guzman.

Do not publish ‑ Tex. R. App. P. 47.2(b).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 





